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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                                             )                  Case No: 4:12CR3055
                 Plaintiff,                  )
          V.                                 )                         ORDER
                                             )
MARTIN TELLEZ MONTOYA,                       )
                                             )
                 Defendant.


     The court has been presented a Financial Affidavit (CJA Form 23) signed by the
    above-named defendant in support of a request for appointed counsel. After a
    review of the Financial Affidavit, I find that the above-named defendant is eligible
    for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
    §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

      IT IS ORDERED that Gregory C. Damman is appointed as attorney of record for
    the above-named defendant in this matter and shall forthwith file an appearance
    in this matter.

      IT IS FURTHER ORDERED that the Federal Public Defender's Office shall
    forthwith provide counsel with a draft appointment order (CJA Form 20) bearing
    the name and other identifying information of the CJA Panel attorney identified in
    accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
    the Federal Public Defender for the District of Nebraska and Gregory C.
    Damman.

     DATED this 18th day of June, 2012.

                                           BY THE COURT:

                                           S/ Cheryl R. Zwart
                                           United States Magistrate Judge
